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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                           SAN FRANCISCO DIVISION

                                          Case No. 3:25-cv-2847

COMMUNITY LEGAL SERVICES IN EAST
PALO ALTO,
1861 Bay Road
East Palo Alto, CA 94303, et al.,

                 Plaintiffs,

       v.                                 DECLARATION OF ALVARO M.
                                          HUERTA
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES,
200 Independence Avenue, S.W.
Washington, DC 20201, et al.,


                Defendants.




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            I, Alvaro M. Huerta, declare as follows:

       1.      I am an adult over the age of 18 and a resident of the state of California. The

information set forth herein is true and correct of my own personal knowledge and if asked to

testify thereto, I would do so competently.

       2.      Pursuant to Local Civil Rule 65-1(a)(5), immediately prior to making this

application to the Court, I provided Pamela Johann, Chief of the Civil Division of the United States

Attorney’s Office of the Northern District of California, with actual notice that Plaintiffs are filing

this motion, along with electronic copies of the complaint and the brief accompanying this motion,

via e-mail before completing this electronic filing.



      Dated: March 27, 2025                     /s/ Alvaro M. Huerta
                                                Alvaro M. Huerta




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